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                                                 Page 1                                                           Page 3
 1       IN THE UNITED STATES DISTRICT COURT              1    APPEARANCES: (all appearing virtually)
           NORTHERN DISTRICT OF ILLINOIS                  2       Mr. Michael Kurtz
 2             EASTERN DIVISION                                   Kurtz & Angenlicht
 3   SEC,                  )                              3       123 West Madison Street
                       )                                          Suite 700
 4           Plaintiff, )                                 4       Chiago, Illinois 60602
                       )                                          312.265.0106
 5     vs.               )No. 18-cv-5587                  5       mkurtz@kalawchicago.com
                       )                                           on behalf of 1839 Fund I, LLC.
 6   EQUITYBUILD, INC., et al., )                         6
                       )                                  7
 7           Defendants. )                                8    Also Present: (all appearing virtually)
 8                                                        9        Mrs. Pong
 9          The virtual deposition of RANDALL PONG,                Ms. Judith Ferrara
10   taken pursuant to subpoena in accordance with the  10         Mr. Robert Jennings
11   Federal Rules of Civil Procedure of the United     11
12   States District Courts pertaining to the taking of 12
13   depositions, taken before PEGGY CURRAN, CSR, CRR, 13
14   RPR, CSR License No. 084-002016, a notary public   14
15   within and for the County of DuPage and State of   15
16   Illinois, taken on Tuesday, October 26, 2021,      16
17   commencing at the hour of 4:00 p.m.                17
18                                                      18
19                                                      19
20                                                      20
21                                                      21
22                                                      22
23                                                      23
24                                                      24
                                                 Page 2                                                           Page 4
 1 APPEARANCES: (all appearing virtually)                  1             INDEX
 2      Mr. Benjamin Hanauer
        Ms. Alyssa A. Qualls                               2 WITNESS              PAGE
 3      U.S. Securities and Exchange                       3 RANDALL PONG
        Commission
 4      175 West Jackson Boulevard                         4 EXAMINATION
        Suite 1450                                            By Mr. Connor            5
 5      Chicago, Illinois 60604
        312.886.2542                                       5
 6      hanauerb@sec.gov                                     EXAMINATION
        quallsa@sec.gov
 7        on behalf of U.S. Securities &                   6 By Mr. Hanauer           19
          Exchange Commission;                             7 EXAMINATION
 8
 9      Ms. Jodi Rosen Wine                                  By Ms. Wine             21
        Rachlis Duff & Peel, LLC.                          8
10      542 South Dearborn
        Suite 900                                            FURTHER EXAMINATION
11      Chicago, Illinois 60605                            9 By Mr. Connor            23
        312.275.5108
12        on behalf of Kevin B. Duff, Federal             10 PONG DEPOSITION EXHIBITS                    FOR ID
          Equity Receiver for the Estate of               11 No. 1                14
13        EquityBuild, Inc., etc.
14      Mr. Kevin Connor                                  12
        Dykema                                            13
15      10 South Wacker Drive
        Suite 2300                                        14
16      Chicago, Illinois 60606                           15
        312.627.8322.
17      kconnor@dykema.com                                16
         on behalf of BC57;                               17
18
19      Mr. Max A. Stein                                  18
        Boodell & Domanskis                               19
20      1 North Franklin
        Suite 1200                                        20
21      Chicago, Illinois 60606                           21
        312.938.4070
22      mstein@boodlaw.com                                22
          on behalf of certain investors;                 23
23
24                                                        24
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 1          (Driver's license shown.)                        1   the court reporter doesn't have to take down two
 2       MR. CONNOR: Good afternoon, Mr. Pong. Thank         2   people talking at once.
 3   you for giving us your time. My name is Kevin           3       A (Nodding head.)
 4   Connor. I am an attorney for one of the investors       4       Q Additionally, I saw you nod your head.
 5   in this case, BC57. I will be leading this              5   We need to get everything down on the record, so
 6   deposition today.                                       6   please make sure all your answers are verbal. If
 7           We also have some of the other attorneys        7   you shake your head or something, the court
 8   representing other parties on the Zoom call as          8   reporter is not going to be able to take that down.
 9   well.                                                   9   So a clear yes or no would be very helpful.
10           For those of you other than Mr. Pong who       10           If there is a question that I ask and
11   are listening, other investors, this deposition is     11   you answer it, I am going to assume that you
12   only asking questions of Mr. Pong. So certainly as     12   understood.
13   investors, you are free and welcome to listen in,      13           So if there is something you don't
14   but we are just asking questions of Mr. Pong this      14   understand or you would like to clarify, you are
15   afternoon.                                             15   very welcome to let me know that and I will try to
16           Please swear in the witness.                   16   find a way to ask it more clearly or rephrase.
17               (Witness virtually duly sworn.)            17           Finally, you are welcome to take breaks
18       THE WITNESS: I have my wife with me and she        18   if you need one. I only ask that if there is a
19   knows about the financials. She is right here.         19   question pending before you, that you answer the
20       MR. CONNOR: I am going to ask that you give        20   question before we take a break. But if you need
21   me the answers to the best of your knowledge,          21   to take a water break or make a phone call or
22   Mr. Pong.                                              22   anything like that, that's perfectly fine. Just
23       MRS. PONG: Is it okay if he asks me questions      23   let me know.
24   though?                                                24           Does that all sound clear enough?
                                                   Page 6                                                      Page 8
 1       THE WITNESS: I may have to. She is the one 1                 A Yes. I have one question though. Why
 2   who did all the paperwork and the choice of          2      am I deposed?
 3   investments. She just used my money.                 3           Q Sure. You are being deposed as one of
 4       MR. CONNOR: It's just important that the         4      the investors in the 7752 South Muskegon property.
 5   answers -- if you need to refresh your memory,       5      The Court has authorized us to depose, or the
 6   that's fine. If you have no idea and you are just    6      parties, to depose up to three investors per
 7   repeating, I prefer that you not do that.            7      property. So you were chosen simply because at
 8       THE WITNESS: Okay.                               8      least among my client's records, we don't have your
 9                RANDALL PONG,                           9      note, mortgage and servicing agreement. So I just
10   called as a witness herein, having been first       10      wanted to ask you some questions about your
11   virtually duly sworn, was examined and testified as 11      experience with EquityBuild to kind of fill in some
12   follows:                                            12      gaps for us.
13                EXAMINATION                            13           A All right.
14       By Mr. Connor:                                  14           Q First question. Mr. Pong, have you ever
15       Q Just before we begin, I would like to         15      been deposed before?
16   lay out a few ground rules so that we can do this 16             A No.
17   as efficiently as possible.                         17           Q Okay. Would you mind telling me a
18            First, as you see we do have a court       18      little bit about your background. Did you attend
19   reporter taking down what everyone says today. To19         college?
20   that end, if you feel like you know what my         20           A Yes.
21   question is asking and you feel like you are going 21            Q Can you tell me where?
22   to start to answer, I am just going to ask that you 22           A University of Hawaii.
23   please wait until I finish talking before you begin 23           Q Hawaii. Okay. And what was your degree
24   and I will wait until you finish talking. This way  24      in?
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                                                     Page 9                                                     Page 11
 1       A Industrial education.                               1   turn your attention to the Muskegon investment.
 2       Q Industrial education. Okay. And what                2   Can you tell me, when did you first get involved
 3   is your current employment?                               3   with EquityBuild?
 4       A Retired.                                            4          I guess let me start before that. Was
 5       Q You are retired. Before you were                    5   Muskegon your first investment with EquityBuild?
 6   retired, what was your employment?                        6      A Personally, I think it's my first.
 7       A Technology coordinator.                             7   Yes.
 8       Q How long did you hold that position?                8      Q I am sorry, I didn't mean to interrupt.
 9       A 15 years.                                           9   Please continue.
10       Q All right. Other than -- forgive me if             10      A It's not my decision, it's my wife
11   I casually mention the loan. I am referring              11   recommended that I do it. So I just followed her
12   specifically to your EquityBuild loan for the            12   instructions.
13   7752 South Muskegon property, just as we go through      13      Q All right. I understand.
14   this. I will try to always make that clear.              14          I just want to repeat, I understand it
15           Other than that loan, do you have any            15   sounds like your wife knows a lot about this. You
16   other experience with real estate investments?           16   are the person testifying under oath, so resist the
17       A Just personal property. We have been               17   temptation to just turn to her. We would love to
18   buying and selling. Personal. And my wife is             18   know what your experience was.
19   involved with flipping properties too.                   19          So it was at your wife's direction. Do
20       Q I am sorry. Please finish?                         20   you happen to know how you and your wife first
21       A Rentals in Missouri and Indianapolis.              21   discovered EquityBuild? Did they reach out to you,
22       Q Got it. When you say rentals, those are            22   did someone refer you to them?
23   properties that you own and rent out?                    23      A I don't know how she got referred, but
24       A That I own, yes. In my retirement                  24   my guess is she listens to a lot of those online
                                                    Page 10                                                     Page 12
 1   fund.                                                     1   seminars. It might have come by one of those.
 2       Q Right. Okay. So those other                         2           That's my speculation without turning to
 3   investments, are those investments that you manage        3   her and asking.
 4   yourself or do you have other companies in the vein       4       Q I appreciate that. I know it's tempting
 5   of EquityBuild who help you with those                    5   right there.
 6   investments?                                              6           Who did you first contact at
 7       A Not EquityBuild. I have another company             7   EquityBuild?
 8   that is helping me manage. And I just pay them a          8       A I did not talk to anyone from
 9   monthly fee.                                              9   EquityBuild personally.
10       Q Okay. What is the name of that                     10       Q Okay. Did your wife?
11   company?                                                 11       A Yes.
12       A Alpine.                                            12       Q So you wouldn't happen to know. Does
13       Q Alpine. Like skiing?                               13   the name Sean Cohen mean anything to you?
14       A Yes, like mountain.                                14       A She told me after the fact. I Googled
15       Q Okay. Thank you very much.                         15   him and found out the bad news.
16           How long have you been involved -- when          16       Q When you say after the fact, that is
17   did you start investing in real estate?                  17   after everything fell apart with the loan?
18       A Well, going way back, when we were in              18       A Yes.
19   college, we had two -- one condominium, we were          19       MR. HANAUER: Excuse me. Objection.
20   renting, and that was when we were in college.           20           Kevin, you are questioning a pro se
21           Since that, we have just bought and              21   witness about communications with his spouse. Are
22   sold, until we got to our home that we are living        22   you sure that's appropriate?
23   in now.                                                  23       MR. CONNOR: Fair enough point. I will
24       Q Great. Thank you. I would like to now              24   rephrase my questions. Certainly I had no ill
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 1   intent there. Thank you for pointing that out.         1       Q Okay. So you did not personally review
 2       By Mr. Connor:                                     2   any of the documents related to this loan?
 3       Q The last question I think was does Sean          3       A No. She did.
 4   Cohen mean anything to you. Your answer was that       4       Q Okay. I want to stop sharing my screen
 5   you Googled him after things fell apart with the       5   now. We will mark that Exhibit 1.
 6   loan?                                                  6           And the document, for the rest of the
 7       A Yes.                                             7   parties, that's the EBF sample note.
 8       Q Okay. Do you recall signing any                  8           Do you know, Mr. Pong, who was supposed
 9   documentation with EquityBuild?                        9   to communicate with you on EquityBuild's behalf
10       A Probably with my wife I did some                10   about this loan?
11   probably online signing of documents.                 11       A I don't know the person. But my wife
12       Q Okay. Do you recall -- you mentioned            12   was in communication.
13   online. Did the name Docusign mean anything to        13       Q All right. Could you tell me your
14   you?                                                  14   understanding of the loan generally, how much you
15       A Yes. That's what she uses to sign.              15   invested, what you expected to get back, how you
16       Q Okay. Do you recall whether that's what         16   expected to be paid?
17   you used in this instance in signing the loan         17       A Okay. I recall that totally I had given
18   documents?                                            18   her access to 70,000 from my retirement fund to
19       A I don't recall, but I only recall using         19   invest in properties. And she showed me some
20   Docusign. I don't recall any other type of            20   image, Google pictures of these apartment
21   signing.                                              21   buildings. And my understanding was we were
22       Q Okay. Mr. Pong, did you submit                  22   funding the rehab and that we are getting, at some
23   documents in relation to this case in support of      23   point, 15 percent interest. And that at completion
24   your claim?                                           24   of the rehab, we get the 15 percent interest. And
                                                 Page 14                                                       Page 16
 1       A I did not submit it, my wife did it for          1   that's the finances that I understood.
 2   me.                                                    2       Q Got it. Okay. Do you have any idea of
 3       Q Okay. Do you know without consulting             3   the timeline of this loan, how often you would be
 4   your wife what documents she submitted?                4   paid, when the loan would mature?
 5       A No.                                              5       A I think there are different timelines.
 6              (A document was marked as Pong              6   I kind of recall there is some shorter ones, some
 7               Deposition Exhibit No. 1 for               7   longer ones. Some were like six to nine months and
 8               identification.)                           8   some were like a year. I'm not sure.
 9       By Mr. Connor:                                     9       Q Okay.
10       Q Okay. I am going to show you a document         10       A But they weren't for long terms.
11   now. I am going to share my screen in just a          11       Q Mr. Pong, does the name EquityBuild
12   moment.                                               12   Finance mean anything to you?
13          Mr. Pong, do you see the document before       13       A Not until my wife mentioned it many
14   you?                                                  14   times.
15       A I see a document.                               15       Q As you sit here today, do you have an
16       Q It says commercial flat rate promissory         16   understanding of who EquityBuild Finance is or what
17   note.                                                 17   their relationship to this loan is?
18       A Uh-huh.                                         18       A Do I understand what the company is?
19       Q Does this document look at all familiar         19       Q Yes.
20   to you?                                               20       A Yeah. My understanding is the company
21       A No.                                             21   was going to be responsible for the purchase and
22       Q I will scroll.                                  22   rehab of the apartments, and responsible for the
23       A My wife was doing all the fine details          23   sale, and the distribution of our interest at the
24   on this. She just said sign here.                     24   end.
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                                                   Page 17                                                      Page 19
 1       Q Okay. Is that -- so there are two                  1        A No, not that I seen in any records that
 2   different companies, EquityBuild and EquityBuild         2   my wife showed me at all.
 3   Finance. I am trying to think of how I would             3        Q Are you familiar with the term payoff
 4   phrase this.                                             4   demand?
 5           What you just described to me, is there          5        A No.
 6   a difference in your mind between EquityBuild and        6        MR. CONNOR: Okay. All right. Well, those
 7   EquityBuild Finance?                                     7   are all the questions I have for you, Mr. Pong. I
 8       A For me, I don't know. My wife would                8   don't know if anyone else, some of the other
 9   though.                                                  9   lawyers may have some questions.
10       Q All right. Mr. Pong, are you familiar             10                   EXAMINATION
11   with the term prepayment as it relates to a             11        By Mr. Hanauer:
12   mortgage?                                               12        Q It's probably good morning for you,
13       A No.                                               13   Mr. Pong, right?
14       Q Okay. Are you familiar with the term              14        A Yes. It's still 11:00. Yes.
15   release as it relates to a mortgage?                    15        Q I thought so. Good morning, Mr. Pong.
16       A No.                                               16   My name is Ben Hanauer. I am an attorney with the
17       Q No. Okay. Mr. Pong, did you ever                  17   Securities and Exchange Commission, which is the
18   receive a notice that somebody wanted to payoff the     18   plaintiff in this lawsuit.
19   loan in which you had invested?                         19            So you invested a total of $70,000 with
20       A No, not that I recall any.                        20   EquityBuild?
21       Q Okay. Do you understand that                      21        A That's what I recall that my wife was
22   EquityBuild Finance accepted a payoff amount from       22   asking to utilize for these accounts.
23   someone -- excuse me. Let me back up. I got ahead       23        Q And how much money does EquityBuild
24   of myself.                                              24   still owe you?
                                                   Page 18                                                      Page 20
 1           Are you familiar with the term payoff?           1        A It should be total claim of $60,568 and
 2       A Not in this sense.                                 2   change.
 3       Q So a payoff is when the whole amount of            3        Q The reason that that number is less than
 4   the loan is due and then someone makes the whole         4   70,000 is because you got some interest payments?
 5   payment to early pay off the loan.                       5        A Well, there was an interest payment of
 6           Do you understand as you sit here that           6   $10,668 and change.
 7   EquityBuild accepted a payoff amount from someone        7        Q Besides those interest payments, was
 8   to purportedly pay off the loan?                         8   your capital investment ever returned?
 9       A You mean another third party.                      9        A Not that I recall.
10       Q Correct.                                          10        Q And when you invested with EquityBuild,
11       A And they are buying my property and I             11   did you understand that your investments were
12   didn't know about it? That could have been.             12   secured by a mortgage or mortgages?
13       Q Do you understand that EquityBuild has            13        A What I believed is that we had owned the
14   released the mortgage relating to your loan?            14   property and that was our out in the sense that if
15       A No.                                               15   something did go wrong on the rehab, the property
16       Q Okay. Did anyone ever discuss the term            16   still would be turned over to the investors, which
17   rollover with you?                                      17   is me. So that's what my understanding was.
18       A I believe that on this Praxton was                18        Q And did you ever authorize anybody to
19   rolled over to Muskegon.                                19   sell those properties you invested in without your
20       Q Another investment rolled over into               20   consent?
21   Muskegon?                                               21        A I don't recall anyone asking about the
22       A Yes.                                              22   sale of the property, especially if the funds
23       Q Did anyone ever discuss rolling over              23   didn't come to us, which is my account.
24   Muskegon into another investment with you?              24        Q Would you have allowed anyone to sell
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                                                   Page 21                                                    Page 23
 1   the property you invested in if you knew you             1       Q Okay. And other than lending money to
 2   wouldn't get paid for it?                                2   EquityBuild, do you have any relationship with
 3       A I wouldn't allow them to sell it if I'm            3   anyone at EquityBuild?
 4   not getting a penny back, yes.                           4       A No, I don't.
 5       MR. HANAUER: No further questions. Thank you         5       Q Any other business relationship?
 6   very much, Mr. Pong.                                     6       A No business relationship.
 7                EXAMINATION                                 7       MS. WINE: Okay. I have nothing further.
 8       By Ms. Wine:                                         8       MR. CONNOR: I have just a couple follow-ups.
 9       Q Mr. Pong, hi. My name is Jodi Wine and             9               FURTHER EXAMINATION
10   I represent Kevin Duff, who is the receiver in this     10       By Mr. Connor:
11   action. Just a couple questions.                        11       Q Mr. Pong, you mentioned iPlan.
12           The answers to discovery that you               12       A Yes.
13   submitted said that your investment was                 13       Q So your loan was administrated through
14   $8,632 in this property, plus another $75.              14   iPlan; is that correct?
15       A I don't know the exact amounts, yes.              15       A That's my retirement fund.
16       Q Do you know what that $75 was for?                16       Q So did you communicate with anyone at
17       A No, not at all.                                   17   iPlan about this loan?
18       Q You just testified, I believe, that you           18       A I don't recall doing it, but my wife was
19   received $1,035.81 interest?                            19   handling that. Whether she actually told iPlan
20       A The interest was $10,668.64. That went            20   where the money was coming from or what, I don't
21   into my iPlan, which is my retirement fund.             21   know.
22       Q That $10,000 was for your investment in           22       Q Okay. Do you recall receiving any
23   all the properties, correct?                            23   correspondence from iPlan about this loan?
24       A It's flagged as interest. So whether              24       A No. It would go to her.
                                                   Page 22                                                    Page 24
 1   it's all the properties. Because after Praxton      1            Q Okay. And finally -- forgive me, I
 2   distributed to four of them, I have no idea what    2        might have asked this already, but I didn't mark it
 3   went where. Four different names as far as I'm      3        down.
 4   concerned.                                          4                When you submitted your documents for
 5        Q So the interest that you put in the          5        this case, did you submit a mortgage document?
 6   verified answers to your discovery request, that    6            A My wife would have submitted all the
 7   would be the amount that was interest from the      7        documents. And she handles all the paperwork.
 8   Muskegon investment, correct?                       8            Q Okay.
 9        A I don't understand the question.             9            A So she followed all the instructions I'm
10        Q Okay. Sorry.                                10        sure she got at that time when the claim was being
11             Do you remember submitting this summer 11          made and everything.
12   some answers to questions, written questions?      12            Q Okay. But you don't know as you sit
13        A On the answering of written questions,      13        here exactly what was included in that
14   it was probably my wife that answered the question.14        submission?
15             But for my records, when I looked at it, 15            A No. You have to check with her because
16   Praxton had rolled over $8,632 in like '17.        16        she is the one who did it.
17        Q Okay. In 2017?                              17            Q Okay.
18        A 7/20/17, yes.                               18            A I am hands off on this investment. Yes.
19        Q July 20 of 2017?                            19        Sorry.
20        A Yes.                                        20            Q That's quite all right. You only know
21        Q Okay. Thank you.                            21        what you know.
22             Did you receive any other amounts than   22                Thank you. I appreciate you answering
23   the interest payments for this property?           23        my questions directly.
24        A No, I didn't.                               24               Well, that is all that I have unless
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 1   anyone else has any follow-up.                         1 STATE OF ILLINOIS )
 2              (No response.)                                               )SS:
 3       MR. CONNOR: No. All right. Mr. Pong, thank         2 COUNTY OF DU PAGE )
 4   you very much for your time. At this time we are       3
 5   going to ask you to either waive or reserve            4        I, PEGGY CURRAN, CSR, CRR, License
 6   signature.                                             5 No. 084-002016, notary public within and for the
 7            What that means is you have the right to      6 County of DuPage and State of Illinois, do hereby
 8   review the transcript of this deposition to make       7 certify that heretofore, to wit, on the 26th day of
 9   sure it accurately reflects what you said today.       8 October, 2021, RANDALL PONG personally appeared
                                                            9 before me as a witness in a cause now pending and
10   You can't go back and change and say I wish I had
                                                           10 undetermined in the United States District Court,
11   answered this differently. But you do have the
                                                           11 Northern District of Illinois, Eastern Division,
12   right to review it before signing off on it to make
                                                           12 wherein SEC is plaintiff and EquityBuild, Inc.,
13   sure it's accurate.
                                                           13 et al., are defendants, No. 18-cv-5587.
14            So you can reserve signature, in which
                                                           14        I further certify that the said RANDALL
15   case you will have the right to review the            15 PONG was by me first virtually duly sworn to
16   transcript, or you can just say that you are done     16 testify to the truth, the whole truth and nothing
17   with it and waive signature. It's up to you.          17 but the truth in the cause aforesaid before the
18       THE WITNESS: We will waive it. Yes.               18 taking of his deposition; that the testimony given
19   Everything I said is what I know. Sorry if it         19 was stenographically recorded in the presence of
20   wasn't as well as you would like.                     20 said witness by me, and afterwards transcribed upon
21       MR. CONNOR: Don't be sorry. We decided to         21 a computer, and that the foregoing is a true and
22   ask you questions. You can only tell us what you      22 correct transcript of said testimony.
23   tell us.                                              23        I further certify that there were present
24           Thank you very much for your time.            24 at the taking of the deposition the aforementioned
                                                 Page 26                                                    Page 28
 1       MS. WINE: Excuse me one minute. I know it          1   counsel.
 2   might be late. I was just looking at the proof of      2         I further certify that I am not counsel
 3   claim that was submitted by Mr. Pong.                  3   for nor in any way related to any of the parties to
 4           No, I will strike that. I have nothing         4   this suit, nor am I in any way interested in the
 5   further.                                               5   outcome thereof.
 6       MR. CONNOR: I think we are done, Mr. Pong.         6         In testimony whereof, I have hereunto set
 7   Have a good morning.                                   7   my hand and seal this 4th day of November, 2021.
 8                                                          8
 9                                                          9
10             DEPOSITION CONCLUDED                        10
11                                                         11              ______________________________
12                                                         12              Notary Public
13                                                         13              DuPage County, Illinois
14                                                         14              CSR No. 084-002016
15                                                         15
16                                                         16
17                                                         17
18                                                         18
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